                                                                                 Case 3:16-cr-00440-WHA Document 26 Filed 04/23/18 Page 1 of 2



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6
                                                                          7
                                                                          8
                                                                          9                               IN THE UNITED STATES DISTRICT COURT
                                                                         10
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13   UNITED STATES OF AMERICA,                                     No. CR 16-00440 WHA
                                                                         14                  Plaintiff,
                                                                         15     v.                                                          NOTICE RE UNSEALING OF
                                                                         16                                                                 ORDER RE SHACKLING OF
                                                                              YEVGENIY ALEKSANDROVICH                                       DEFENDANT AT APRIL 17
                                                                         17   NIKULIN,                                                      HEARING

                                                                         18                  Defendant.
                                                                                                                          /
                                                                         19
                                                                         20          A prior order dated April 18 provided that the order regarding the United States

                                                                         21   Marshals Service’s request that defendant remain shackled at the April 17 hearing would

                                                                         22   “remain under seal until APRIL 23 AT NOON, after which the order shall be filed on the public

                                                                         23   docket unless one or both parties propose redactions” (Dkt. No. 20). No proposed redactions

                                                                         24   were filed by the noon deadline. Defense counsel instead raised an objection to the unsealing of

                                                                         25   the April 18 order through an email to the Courtroom Deputy. Counsel’s one-sentence

                                                                         26   statement of reasons contained in that email fails to set forth good cause for maintaining the

                                                                         27   April 18 order under seal. Moreover, objections cannot be made by email. Counsel must file

                                                                         28   any objections on the docket in accordance with the Local Rules.
                                                                                Case 3:16-cr-00440-WHA Document 26 Filed 04/23/18 Page 2 of 2



                                                                          1          Accordingly, the order regarding the Marshals’ request will be unsealed and filed on the
                                                                          2   public docket unless one or both parties show good cause to maintain sealing by TOMORROW
                                                                          3   AT 5 P.M.

                                                                          4
                                                                          5          IT IS SO ORDERED.
                                                                          6
                                                                          7   Dated: April 23, 2018.
                                                                                                                                     WILLIAM ALSUP
                                                                          8                                                          UNITED STATES DISTRICT JUDGE
                                                                          9
                                                                         10
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                            2
